Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 1 of 59 Page ID #:1595



                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION - LOS ANGELES



           FOUR WORLD EVENT OPPORTUNITIES, )CASE NO: 2:21-MC-1019-CAS-JPRx
           LP, ET AL,                      )
                                           )      CIVIL MISCELLANEOUS
                          Petitioners,     )
                                           )    Los Angeles, California
                vs.                        )
                                           ) Thursday, November 18, 2021
           HOULIHAN LOKEY, INC,            )
                                           )   (9:59 a.m. to 11:25 a.m.)
                          Respondent.      )


                           HEARING RE PETITIONERS’ APPLICATION

                         BEFORE THE HONORABLE JEAN P. ROSENBLUTH,
                              UNITED STATES MAGISTRATE JUDGE



           APPEARANCES:                 SEE PAGE 2


           Court Reporter:              Recorded; CourtSmart


           Courtroom Deputy:            Bea Martinez


           Transcribed by:              Exceptional Reporting Services, Inc.
                                        P.O. Box 8365
                                        Corpus Christi, TX 78468
                                        361 949-2988




           Proceedings recorded by electronic sound recording;
           transcript produced by transcription service.
                           EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 2 of 59 Page ID #:1596
                                                                                    2

           APPEARANCES:



           For Petitioners:             DUANE L. LOFT, ESQ.
                                        BRIANNA S. HILLS, ESQ.
                                        JOHN KUCERA, ESQ.
                                        Boise Schiller Flexner, LLP
                                        55 Hudson Yards
                                        New York, NY 10001

                                        CHRISTINE MACKINTOSH, ESQ.
                                        Grant & Eisenhoffer, P.A.
                                        123 S. Justison St.
                                        Wilmington, DE 19801

                                        IRA A. SCHOCHET, ESQ.
                                        Labaton Sucharow, LLP
                                        140 Broadway
                                        New York, NY 10005

           For Respondent:              ALEXANDRA BARGOOT, ESQ.
                                        Goodwin Procter, LLP
                                        100 Northern Ave.
                                        Boston, MA 02210

                                        DOUGLAS H. FLAUM, ESQ.
                                        Goodwin Procter, LLP
                                        620 Eighth Avenue
                                        New York, NY 10018

                                        GALEN PHILLIPS, ESQ.
                                        Goodwin Procter, LLP
                                        601 S. Figueroa St.
                                        41st Floor
                                        Los Angeles, CA 90017




                           EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 3 of 59 Page ID #:1597
                                                                                    3


       1   Los Angeles, California; Thursday, November 18, 2021; 9:59 a.m.

       2                            (Remote appearances)

       3                               (Call to Order)

       4               THE CLERK:    Good morning, Judge.     Can you hear me?

       5               THE COURT:    Yes.

       6               THE CLERK:    This United States District Court is now

       7   in session, the Honorable Jean P. Rosenbluth, United States

       8   Magistrate Judge, presiding.

       9               Calling Case Number 21-MC-1019-CAS(JPRx), FourWorld

      10   Event Opportunities, LP, et al. versus Houlihan Lokey, Inc.

      11               Counsel, please state your appearances for the record

      12   starting with plaintiff.

      13               MR. LOFT:    Good morning, Your Honor.      For Petitioners

      14   this is Duane Loft from the Boies Schiller Flexner firm.           I'm

      15   joined by several of my colleagues, beginning with John Kucera,

      16   who's our California counsel.       I'm also joined by Brianna Hills

      17   from Boies Schiller Flexner.

      18               THE COURT:    All right.

      19               MR. LOFT:    And we also have for petitioners Christine

      20   Mackintosh from the Grant and Eisenhoffer firm, who's been

      21   admitted pro hac in this case, as well as Ira Schochet from the

      22   Labaton firm.

      23               THE COURT:    All right.   Are various of you going to

      24   be speaking, or are only you going to be speaking?

      25               MR. LOFT:    I will be speaking.     Just --
                           EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 4 of 59 Page ID #:1598
                                                                                    4


       1               THE COURT:    All right.

       2               MR. LOFT:    Just me for the group.

       3               THE COURT:    All right.   Thank you.

       4               If the others don't mind muting their video, that --

       5   so I don't have so many people staring at me, that would be

       6   great.   Thank you.

       7               And, then, for respondent?

       8               MR. FLAUM:    Your Honor, this is Douglas Flaum from

       9   the Goodwin law firm for respondent.        I'm here with two of my

      10   colleagues:    my California colleague, Galen Phillips, and

      11   Alexandra Bargoot, who is with me here in New York.          And I will

      12   be speaking on behalf of respondent.

      13               THE COURT:    All right.   Thank you.

      14               I am going to see if I can figure out how to turn my

      15   speakers up, because you're all a little faint.          So, give me

      16   one second.

      17               All right.    Can somebody say something?

      18               MR. FLAUM:    Hello, Your Honor.

      19               THE COURT:    That's much better.     Thank you.

      20               All right.    So, I did receive the directions order

      21   yesterday, and I did read it.       I think I'd like to start simply

      22   by hearing from each side how you think, if at all, that

      23   affects the briefing and which portion of the order in specific

      24   you want me to refer to.

      25               So, I think maybe petitioner should go first?
                           EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 5 of 59 Page ID #:1599
                                                                                    5


       1               MR. LOFT:    Sure, Your Honor.    I'm happy to.     Again,

       2   Duane Loft from Boies Schiller Flexner.

       3               I think it is important to begin with an update on

       4   the Cayman proceedings and the directions order.          As you saw

       5   from the papers, the principal objections from the respondent

       6   had to do with the status of the proceedings.         They said,

       7   effectively, our 1782 application was too early in the process

       8   relative to the progress of the Cayman proceedings.          They said

       9   that at that time there hadn't been this directions order, so

      10   we didn't know the scope of discovery that would be available

      11   from the company, the foreign defendant in the foreign

      12   appraisal case.     They said:    We don’t know what remaining

      13   documents will be needed from Houlihan, the respondent in this

      14   case.   And now we have answers to those questions.

      15               The Court in the Cayman Islands has now issued this

      16   directions order.     This is the document that you have in front

      17   of you; it was sent to your chambers yesterday.          And what it

      18   tells us is something about the scope of discovery that will,

      19   in fact, be available from the company that's the defendant in

      20   that appraisal case.

      21               Now, in terms of Houlihan -- and I'm sure counsel for

      22   respondent can correct me if I'm directing you to the wrong

      23   place, but I believe that the category of documents relating to

      24   Houlihan is at Appendix 4, Category A.

      25               THE COURT:    That's what I thought as well, but maybe
                           EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 6 of 59 Page ID #:1600
                                                                                    6


       1   that's not right, and if so, I'm sure he'll let us know.

       2               MR. FLAUM:    I promise to.

       3               MR. LOFT:    There's an -- I mean, for completeness on

       4   my part, there is a category F, as in Frank, that does

       5   reference projections sent to the financial advisor.          So, he

       6   may mention that one.      But I think the principal category is

       7   this category A, and it requires production by the company of

       8   documents produced by, provided to, or received from Houlihan

       9   Lokey, which is the relevant respondent in this case, or at

      10   least the foreign subsidiary of the respondent.          Those

      11   documents, pursuant to that particular category, as I

      12   understand it, have now been produced.        The company's deadline

      13   to produce those documents was back on September 6th.

      14               So, in preparation for today's hearing, we reviewed

      15   those documents.     And what we found was that there --

      16               THE COURT:    Wait, can I -- can I interrupt you for a

      17   second?    You said the -- oh, I'm sorry.      Go ahead.    Sorry.

      18               MR. LOFT:    That's okay.    That's all right.

      19               The company in the Cayman Islands proceeding produced

      20   a category of documents.      Now, it's our understanding,

      21   principally based on the declaration that Mr. Flaum submitted

      22   in the case, that the category of documents in part was

      23   retrieved from Houlihan, from the respondent in this case, and

      24   then produced in the Cayman Islands.        So, we wanted to be sure

      25   about exactly what was produced pursuant to that category.           And
                           EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 7 of 59 Page ID #:1601
                                                                                    7


       1   when we went into the production, we found only 126 documents

       2   where Houlihan was identified as a custodian; which we infer to

       3   be the sum total of the documents that Houlihan, the respondent

       4   in this case, would have provided to the company to be produced

       5   in the Cayman Islands pursuant to this directions order.

       6               Now, in his declaration to this Court, that Mr. Flaum

       7   submitted in their reply papers, he said that his client turned

       8   over at least 750 documents to the company as part of this

       9   particular production exercise under the directions order in

      10   the Cayman Islands.      Again, all we see in the company's

      11   production is the 126 documents.

      12               THE COURT:    Well, they're not necessarily

      13   inconsistent, because the company is the one that, as I

      14   understand it, uploaded them, so is it not the case that

      15   Houlihan provided 750 to the company, but the company only

      16   uploaded 126?

      17               MR. LOFT:    And that's exactly the point, Your Honor.

      18   That's exactly why we're here and we're still seeking the 1782

      19   discovery.    There are really two -- two issues.

      20               First, this limited production that came from the

      21   company pursuant to the obligations of the company, not

      22   Houlihan, in the Cayman Island proceedings, means that it's

      23   especially necessary that we get a full and complete production

      24   from Houlihan itself.      We don’t know what happened to the rest

      25   of the documents.       Mr. Flaum said that he gave 750 documents to
                           EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 8 of 59 Page ID #:1602
                                                                                    8


       1   the company; the company produced 126.        We don't know what

       2   happened to the rest.

       3               The Cayman process is very different from the process

       4   that you and I deal with every day under our federal rules.

       5   And Houlihan is not a party in the Cayman case.          It has no

       6   discovery obligations there.       It made a voluntary production,

       7   as we understand it, to the company, and then the company,

       8   pursuant to its obligations, not Houlihan's, produced that

       9   discovery in the Cayman Island process.        And there's a lot of

      10   case law under the 1782 context that says you can get 1782

      11   exactly in these circumstances, even if it overlaps with the

      12   discovery in the foreign proceeding.        And that's because the

      13   rules are very different in other countries.

      14               So, the first issue, the first reason why we need

      15   1782 is for this set of documents that Houlihan gave to the

      16   company.    There shouldn't be any burden in producing those

      17   documents.    If there are privilege issues, they can give us a

      18   privilege log.

      19               THE COURT:    So, Mr. Loft, I just want to -- you can

      20   certainly add to what you've said so far, but I want -- confine

      21   your statements right now just as to how the directions order

      22   impacts the briefing, because I don't want the argument based

      23   on the briefing yet.      So --

      24               MR. LOFT:    Understood.   Now -- I want to be

      25   responsive to the Court's question.        I don't think that there
                           EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 9 of 59 Page ID #:1603
                                                                                     9


       1   is anything left of the respondent's arguments that we saw in

       2   the briefing.    I mean, their arguments were that we filed for

       3   1782 too early; we needed to see the directions order, we

       4   needed to know the scope of discovery, and then if petitioners

       5   have remaining documents that they want, they should come back

       6   to the Court at that time.      That was essentially their argument

       7   in the briefing.     I think events have now overtaken those

       8   issues.

       9               THE COURT:    All right.   Let me hear from Mr. Flaum

      10   just as to the directions order and its impact on the briefing.

      11               MR. FLAUM:    So, Your Honor, thank you.      And, not

      12   surprisingly, I disagree with Mr. Loft, and I actually think

      13   the direction order has a large impact on the briefing and the

      14   case, and that's why I was the one who brought it to the

      15   Court's attention.

      16               I think on the document issue, it -- the important

      17   things to look at is Section 8 of the direction order,

      18   particularly, Section 8.1, which talks about what documents the

      19   company is supposed to turn over.        And the way it works in the

      20   Caymans, Your Honor, is the company collects from its agents,

      21   which includes Houlihan here, and then it produces them.           And,

      22   so, if you look at 8.1, it talks about that it has to hand over

      23   all the documentation, including it got from Houlihan, for a

      24   five-year period, ending on the valuation date, and it's all

      25   electronic, hard-copy, or other documents.
                           EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 10 of 59 Page ID #:1604
                                                                                     10


        1               And Section 8.1 refers to Appendix 4, which Mr. Loft

        2   mentioned, at A, which talks about and mentions specifically

        3   Houlihan.     But also, importantly, if you look at the next page

        4   of Exhibit -- of Appendix 4, there's other categories,

        5   including category B, which is communications with the special

        6   committee.    There's item E, which is communications in respect

        7   of the special committee's engagement of the financial advisor,

        8   which is Houlihan.     It includes section F, which includes

        9   communications and documents and other materials, discussion

       10   projections which were sent to the financial advisor, which,

       11   again, is Houlihan.     If you look at item I, it talks about any

       12   communications and documents relating to communications with

       13   the buyer group.

       14               All of those categories are categories of documents

       15   that Houlihan, at the request of the company, searched for and

       16   provided to the company.      Mr. Loft made the point that he found

       17   126 documents that were tagged as being from Houlihan.          We

       18   certainly provided slightly in excess of 750 to the company

       19   and, particularly, to the company's counsel, for production.

       20   My understanding, based on a conversation I had yesterday, is

       21   that all those documents have been provided, but they were not

       22   duplicated.

       23               So, to the extent they got -- for example, if you

       24   look at a communication between Houlihan and the special

       25   committee, to the extent they -- that -- by definition there
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 11 of 59 Page ID #:1605
                                                                                     11


        1   are two parties:    the special committee, which is part of the

        2   company, and Houlihan.     So, if they got that document from the

        3   special committee, and get a second identical copy from

        4   Houlihan, they only put one in the data room.         And that's what

        5   explains the difference in number.       We did a very fulsome

        6   search and production, which is documents that they have

        7   already.

        8              The other area that I think the directions order has

        9   a significant impact on the briefing and the argument today is,

       10   if you look at items 41 and 42 on page 11 dealing with factual

       11   affidavits, it lays out there the Cayman court's process by

       12   which it would take factual evidence, and, particularly,

       13   factual evidence from non-parties, and that would be by

       14   affidavit.    And what the directions order provides is that if

       15   someone puts in an affidavit -- and I will represent to this

       16   Court that Dan O'Donnell, who is the principal Houlihan person

       17   working, is going to be submitting an affidavit -- that the way

       18   it works is an affidavit is submitted.        Once that affidavit is

       19   submitted, then there is additional discovery obligations that

       20   occur.   Everything relied on in that affidavit and everything

       21   that underlies the opinion or statements in that affidavit has

       22   to be produced.    So -- and that all happens after -- let me

       23   step back.    And, then, after that happens, then there's no

       24   deposition in the Cayman proceeding.       What there is, is a right

       25   of cross examination.
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 12 of 59 Page ID #:1606
                                                                                     12


        1              So, the court in the Cayman says this:         If you want

        2   to put in evidence, put in the affidavit, and then you have to

        3   produce any additional documentation that relates to that, and

        4   then you get to have that evidence tested at cross examination.

        5   Nothing about a deposition being -- being part of it.          And --

        6              THE COURT:    Well, I did -- let me interrupt you,

        7   because I actually had a post-it noted at paragraph 42, and I

        8   had it underlined.      So, I just want to make sure I understand,

        9   because I think I'm reading it the same way you are.          But, so,

       10   somebody submits a factual affidavit, and you've said that

       11   somebody from Houlihan will, and then that person has to attend

       12   physically the proceedings --

       13              MR. FLAUM:    Correct.

       14              THE COURT:    -- and be subject to cross examination.

       15   But my question was, you know, in the United States, we limit

       16   cross examination to the subject matter of what the person

       17   testified to on direct; how am I to know whether petitioners --

       18   to the extent your representative did not touch on something in

       19   their affidavit that petitioners want to ask them about, would

       20   they be allowed to do so?

       21              MR. FLAUM:    The -- I'll be completely -- I don't know

       22   the answer to Your Honor's question.       You know, my

       23   understanding is that they are subject to, you know, full --

       24   you know, full cross examination by -- in front of the -- you

       25   know, the judge in the Caymans.       What the exact scope of that
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 13 of 59 Page ID #:1607
                                                                                     13


        1   cross examination is I don't know.       We can find out (indisc.),

        2   but I don't know sitting here, Your Honor.

        3              THE COURT:    All right.    Thank you.

        4              MR. FLAUM:    So, I think those are the two areas that

        5   I think the -- and the way it works, and this is, I think -- is

        6   that the affidavit and the way the directions order goes, that

        7   all happened after.     Right now there are documents that are

        8   being posted to a data room, including the Houlihan documents

        9   and others.    Now, the Court just came out with the directions

       10   order last week, and so there may be additional documents.           And

       11   those documents will be posted -- the way it works is 175 days

       12   from July 26th, which when I looked at the calendar, was sort

       13   of the end of January.     It's only -- so, there may be

       14   additional documents that -- or different categories that we

       15   may be asked to search for, but I have no idea.         But it's only

       16   after that, that there would then be these affidavits, and then

       17   any additional documentation, and then the in-person cross

       18   examination all follows after that.       And the document

       19   productions haven't even completed yet --

       20              THE COURT:    All right.

       21              MR. FLAUM:    -- as I understand the process.

       22              THE COURT:    All right.    So, Mr. Loft, you can respond

       23   to that, but I also had a couple of questions for you that I

       24   was hoping you could address.      One is, I have no idea where

       25   your February, 2019, date is coming from, and I did search --
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 14 of 59 Page ID #:1608
                                                                                     14


        1   you provided cites to the proxy statement, but I looked at the

        2   proxy statement, and all the dates that are being discussed at

        3   the pages you cite to the proxy datement [sic] -- statement --

        4   are in the middle of 2020.      So, I just -- you have not provided

        5   me with any reason to think it's appropriate, to the extent I

        6   do let you serve a subpoena, to go back to February, 2019, or

        7   anywhere near that.

        8              The second question I wanted to ask you -- and let me

        9   grab something.

       10        (Pause)

       11              THE COURT:    On page 30 of your application you say

       12   that there are two issues on the appraisal proceeding.          And I

       13   know Mr. Flaum pointed this out as well.        I certainly

       14   understand why the valuation analyses provided by Houlihan to

       15   the special committee are at issue, but why on earth is the

       16   process undertaken by the special committee to approve the

       17   merger at issue here when the only issue, as I understand, in

       18   the Cayman Islands, is the valuation of the stock shares, or

       19   whatever you call them, as of September 6th.         So, I don't

       20   understand at all why that first category, why I should let you

       21   get any documents related to that first category and why I

       22   should go back to February, 2019.

       23              MR. LOFT:    Thank you, Your Honor.      I'll respond to

       24   those two questions; then I'll touch on the points that

       25   Mr. Flaum raised, and then I do want to get to my third point,
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 15 of 59 Page ID #:1609
                                                                                     15


        1   which has to do with the categories of our subpoena that do not

        2   overlap with --

        3              THE COURT:    All right.

        4              MR. LOFT:    -- what happened in the Caymans.

        5              So, with respect to the date range issue, Your

        6   Honor's comments are totally fair.       And what we wanted to make

        7   sure was that we were capturing documents that preceded, at

        8   least for some short period, the engagement of Houlihan.

        9   Because as we understand it from the proxy, there was a

       10   selection among several financial advisors, and there were

       11   meetings and pitches with the financial advisors, including

       12   Houlihan, that led up to the engagement.        So, we would ask for

       13   some modest period preceding the April 27th, 2020, date that

       14   Houlihan was retained.     But your comments are totally fair; it

       15   does not need to go back all the way to February 1st, 2019.              I

       16   think the beginning of April of 2020 would probably be adequate

       17   for our purposes.

       18              THE COURT:    All right.

       19              MR. LOFT:    Now, as to process, it may take me a

       20   little while to find the exact paragraphs of the declaration

       21   submitted by the Cayman lawyers in support of our application.

       22   But my understanding is that the analysis in the Cayman Islands

       23   proceeding on appraisal, I think similar to our appraisal

       24   cases, is it's an analysis not only of whether the price is

       25   fair, but also whether the process that led to that price was a
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 16 of 59 Page ID #:1610
                                                                                     16


        1   fair process.    And an unfair process, if it's established, can

        2   impact the assessment of whether the price that was the result

        3   of that process, in fact, was a fair price.

        4              Now, a lot of our requests go to valuation.         Those go

        5   directly to price.     A lot of our requests -- and this is where

        6   I'll get to the over -- the non-overlapping requests.          A lot of

        7   our requests go to discussions that Houlihan was having

        8   regarding due diligence with the buyer group; discussions that

        9   may not have ever touched the company, that the company may not

       10   be producing in the Cayman Islands, but that are highly

       11   relevant, not only to process, but especially to price.

       12   Because the buyer's group view of price, the diligence that

       13   they were seeing, are very much relevant to the inquiry that

       14   the Cayman court will conduct as to whether the price was a

       15   fair price; the buyer's own valuation, the buyer's assessment

       16   of the diligence that it was obtaining, and based on the proxy,

       17   we understand that the Houlihan firm ran that diligence process

       18   with the buyers.

       19              Now, if I could just go back to the points that

       20   Mr. Flaum made.    He pointed to 8.1, which is the obligation of

       21   the company in the Cayman Islands to provide documents in their

       22   possession, custody, or control.       This is the first we're

       23   hearing that Houlihan is within that category.         We weren't

       24   aware that Houlihan is in the possession, custody, or control

       25   of the company.    We're not sure of that.      Even if it is, we
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 17 of 59 Page ID #:1611
                                                                                     17


        1   have no visibility into whatever the company and Houlihan

        2   worked out would be the parameters of Houlihan's collection.

        3   This wasn't party discovery.      This was whatever the company

        4   worked out with Houlihan, a third party, that then the company

        5   would ultimately produce into the Cayman Islands.         That's not

        6   third party discovery; it's not the discovery that we would ask

        7   for under 1782; that's not the discovery that we would conduct

        8   under Rule 45 if we're permitted to take that discovery.           We

        9   would be seeking discovery directly from Houlihan, and

       10   understanding exactly the reasonable search that they're

       11   conducting under our federal rules to obtain the documents.

       12              The next issue that Mr. Flaum raised has to do with

       13   the witness affidavit.     Now, as we understand this process, the

       14   witness isn't going to provide an affidavit until very close to

       15   trial, possibly the eve of trial.       And if we have to wait until

       16   then to obtain whatever discovery comes out of that process and

       17   then come back to this Court for additional discovery to be

       18   able to test the assertions that are being put forward by this

       19   witness, to be able to understand the full scope of evidence,

       20   not just what this witness is relying on, we're going to be too

       21   late, as I understand it.      We're not going to have enough time.

       22              THE COURT:    But isn't that -- I mean, that's the way

       23   the Cayman Islands has set it up, and the argument you're

       24   making, it seems to me, would be contrary to the -- or would

       25   work against you with a third Intel factor, which is whether
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 18 of 59 Page ID #:1612
                                                                                     18


        1   the request is an attempt to circumvent foreign proof-gathering

        2   restrictions or other policies of a foreign country.          Because

        3   if that's the way they set it up, and you are going to have a

        4   chance to cross examine their deponent or affiant, then I don't

        5   see -- your arguments, it seems to me, are contrary to that

        6   third factor.

        7              MR. LOFT:    We don't believe it would be a

        8   circumvention to be able to take third-party discovery from

        9   Houlihan, which is not prohibited by the directions order.

       10              THE COURT:    I'm not -- I'm not talking about the

       11   third-party discovery as a whole.        I'm talking specifically

       12   about a deposition.

       13              MR. LOFT:    Okay.     You're talking about the

       14   deposition.

       15              THE COURT:    Right.

       16              MR. LOFT:    We don’t understand a deposition to be

       17   prohibited by the directions order to be prohibited by the

       18   Cayman process.

       19              THE COURT:    No, I don't --

       20              MR. LOFT:    The witness --

       21              THE COURT:    I don't think it's prohibited either.

       22   What I'm saying is that there are these four Intel factors that

       23   are discretionary, and one of them is whether the request is an

       24   attempt to circumvent foreign proof-gathering restrictions.

       25   I'm not saying -- and it doesn't say, you know, prohibitions;
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 19 of 59 Page ID #:1613
                                                                                     19


        1   it says restrictions.     I'm not saying that it's absolutely

        2   prohibited for you to take a deposition, but wouldn't the third

        3   Intel factor work against you?       Because they have set up a

        4   system for essentially taking someone's deposition.          And, so,

        5   wouldn't your separately trying to take a deposition much

        6   earlier -- and they seem to think that it's plenty of time for

        7   you to do it at the end -- wouldn't you, then, be trying to

        8   circumvent their proof-gathering policies?

        9              MR. LOFT:    Well, first of all, I don't understand

       10   paragraph 42 to allow for a deposition.        I think this is live

       11   cross examination at the trial.       Mr. Flaum can correct me, but

       12   I think this is a witness who would testify live at the trial,

       13   and there is no provision, one way or the other --

       14              THE COURT:    He submits an affidavit first, which --

       15   you know, you're right, it's not exactly the same thing as a

       16   deposition, but what provision of the directions order would

       17   you, then, say -- I know there's a section for the dissenting

       18   folks to submit evidence.      Under which paragraph would you be

       19   able to submit this deposition testimony, and, if you did that,

       20   would you then -- what -- would they accept it if that

       21   person -- because they're saying that cross examination has to

       22   take place at a proceeding, not at a deposition, it seems to

       23   me, for this factual development.

       24              MR. LOFT:    That's right.    So, there are two ways we

       25   would use the deposition.      If the deposition testimony is
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 20 of 59 Page ID #:1614
                                                                                     20


        1   admissible at the time we are due to submit our final evidence,

        2   which I believe takes place in April of 2022, then we would

        3   submit the deposition transcript subject to whatever hearsay

        4   restrictions there are on submitting that.        And our supporting

        5   affidavits from the Cayman lawyers make clear that the judge

        6   may receive, and has received in other cases, deposition

        7   transcripts from 1782 proceedings under their hearsay rules.

        8              The second phase --

        9              THE COURT:    I'm sorry.    Can I interrupt you one more

       10   time?   I -- you keep saying the Cayman lawyers.        I did read the

       11   expert declaration of Judge Mangatal.        Was -- but I don't

       12   recall something from a -- just, you know, a Cayman lawyer who

       13   practices there.

       14              MR. LOFT:    This was from the declaration of Marc

       15   Kish.   Marc Kish is counsel to the parties in the Cayman

       16   proceeding to my clients.

       17              THE COURT:    And I'm sorry.    Can you point me to

       18   where -- where that is, what exhibit it is or --

       19              MR. LOFT:    It was a Marc Kish declaration submitted

       20   in the opening application at ECF 1-2, and, then, there was a

       21   declaration from Marc Kish submitted in connection with our

       22   reply briefing at ECF 31-1.

       23              THE COURT:    All right.    Thank you.

       24              MR. LOFT:    And at paragraph 14 of 31-1 from the

       25   docket, Mr. Kish talks about the use of deposition transcripts
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 21 of 59 Page ID #:1615
                                                                                     21


        1   in Cayman Island proceedings; because we received criticism

        2   from Mr. Flaum in his opposition that we have not cited a case

        3   where a Cayman court in an appraisal proceeding had actually

        4   admitted deposition transcripts from a 1782.         As we --

        5              THE COURT:    I'm sorry.    I did read that, and I

        6   actually have that part underlined, so I just forgot.

        7              MR. LOFT:    But, so, that was a case where the Cayman

        8   court considered transcripts as admitted for their truth under

        9   the hearsay rules subject -- that were applicable in the Cayman

       10   proceeding.

       11              The second way in which we would intend to use this

       12   is, if the testimony from the deponent in these 1782 cases is

       13   the actual testimony from whichever witness they intend to

       14   provide as their witness in the Cayman trial under this

       15   directions order at paragraph 42, then we would cross examine

       16   the witness with the prior witness's -- with the witness's

       17   prior statements, just like you would do in a U.S. proceeding.

       18              And under the circumvention factor, my experience has

       19   been -- and the Court may have a different experience, but my

       20   experience has been that that factor is implicated when there

       21   is a restriction on the proof gathering in the foreign

       22   proceeding, where the foreign proceeding and their rules say

       23   you cannot go and get this evidence; and under 1782, a party is

       24   trying to go around that to circumvent it knowing that there is

       25   an absolute prohibition on the ability to gather that proof.
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 22 of 59 Page ID #:1616
                                                                                     22


        1              THE COURT:    Well, it says to circumvent foreign

        2   proof-gathering restrictions, which is what you are saying, or

        3   other policies.    And, to me, another policy is they've laid out

        4   this procedure, and you're trying to do something different.

        5              MR. LOFT:    Well, I think, Your Honor, that would

        6   prove too much.    Because every time you're in a 1782 you would

        7   have a foreign jurisdiction that allows for some discovery and

        8   not others.    And if it's narrower than the U.S. rules, you'd

        9   face this argument every time; that you're seeking discovery

       10   broader than what the local jurisdiction provides, and

       11   therefore you're circumventing the jurisdiction's rules.           But

       12   that hasn't been the law under 1782 as it's developed.

       13              If the local rules are silent on the issue, which I

       14   think they are here, and I think the directions order is silent

       15   on whether we would have the right to take a third-party

       16   deposition, then I don't think there is a circumvention under

       17   the case law, as I understand it, on the circumvention factor.

       18              THE COURT:    All right.    I interrupted you so many

       19   times.   Did you have anything else you wanted to say?

       20              MR. LOFT:    The last thing I wanted to say, Your

       21   Honor, is I just wanted to direct the Court to a number of our

       22   requests that we don't believe would be covered by the

       23   discovery that may take place in the Cayman --

       24              THE COURT:    Well, I did -- sort of at the end, I

       25   wanted to go over the subpoena, and specifically sort of one by
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 23 of 59 Page ID #:1617
                                                                                     23


        1   one, because I do think you're going to have to submit some

        2   kind of revised proposed subpoena, if only because of the date,

        3   and I think some of the other categories.        So, why don't we

        4   save that for the end and lay that out.

        5              All right.    Mr. Flaum?

        6        (Pause)

        7              THE COURT:    I think you're muted.

        8              MR. FLAUM:    My apologies.

        9              THE COURT:    No problem.

       10              MR. FLAUM:    I'll try to be relatively brief, Your

       11   Honor, and address Mr. Loft's points.

       12              The point Your Honor was making that, you know, this

       13   is a circumvention under item three of the discretionary Intel

       14   factors is exactly correct and is exactly the point that Judge

       15   Birotte -- if that's -- if I'm pronouncing it correctly --

       16              THE COURT:    Birotte.

       17              MR. FLAUM:    Birotte -- and my apologies to him --

       18   made in the Quadre case, which is remarkably similar to this

       19   one, in the sense that it dealt with a Caymans appraisal

       20   proceeding.    In fact, it even dealt with Houlihan and a

       21   subpoena on Houlihan, where the judge denied and did not

       22   allow -- he allowed some much more circumscribed document

       23   discovery that had been sought, but did not allow the

       24   deposition.    And one of the major reasons, which he states in

       25   the third page of his decision, is that when you look at the
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 24 of 59 Page ID #:1618
                                                                                     24


        1   directions order, that lays out what the Cayman court wants,

        2   how it wants this to go.      There is no mention of a deposition,

        3   and he found that to be relative, if not dispositive, on the

        4   issue in the third Intel factor of not allowing the deposition

        5   to go forward.    And we believe that's, you know, correct and

        6   correct here.    The Court there has laid out how it wants to

        7   handle evidence, and the direct testimony comes in by

        8   affidavit, and the cross is done live in front of him or her --

        9   I'm not sure even who the judge is in that case -- and that's

       10   the way it's done.     And this would be a clear circumvention of

       11   that.

       12              I also want to point out that the Kish affidavit at

       13   14 talks about that he's informed by some other lawyer that in

       14   one case that they could find, the Nord Anglica [sic] case,

       15   that the Court -- he believed that the Court considered

       16   transcripts of depositions taken.       Now, first of all, those

       17   depositions actually did not include the depositions of a

       18   financial advisor, because that was the exact deposition that

       19   Judge Birotte did not allow.      So, we're not talking about

       20   (indisc.).    But, more importantly, I've read, and read

       21   carefully, the very lengthy decision by the Cayman judge in the

       22   Nord Anglica [sic] matter, where the judge goes through in --

       23   mainly all the evidence in that, the evidence put forth on --

       24   by each witness, judging the credibility of witnesses, judging

       25   everything.    There is not a single mention of any deposition in
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 25 of 59 Page ID #:1619
                                                                                     25


        1   that decision.

        2              So, I don't know if the lawyer that Mr. Kish talked

        3   to that forms his belief that they were put in evidence is

        4   right or wrong; I'm assuming he's telling the truth and he

        5   really believes that, but I will tell you that if you read that

        6   decision, and I believe it's in the materials that we

        7   submitted, there is no mention of that.        So --

        8              THE COURT:    I did read it.

        9              MR. FLAUM:    -- I think when you look at --

       10              THE COURT:    I did read it.    I can't say I didn't skim

       11   some parts, but I did read it.

       12              MR. FLAUM:    So, I -- I read it carefully for this

       13   purpose.   And, you know, so, I think -- I think, again, Judge

       14   Birotte's decision is correct, and Intel factor three and the

       15   other (indisc.), you know, would preclude a deposition, which I

       16   think, you know, should not occur here.

       17              As far as, you know, the breadths of the requests,

       18   you know, I think if where Your Honor is -- is going, I want to

       19   read -- you know, two is that there should be a far more

       20   limited request.    Our view is that almost everything, if not

       21   everything, is going to turn out to be stuff that we've already

       22   provided, but, you know, we're certainly -- you know, we

       23   certainly understand that, you know, that 1782 can permit

       24   document discovery, and, you know, probably if actually a

       25   really tailored request came in, I would think Mr. Loft and I
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 26 of 59 Page ID #:1620
                                                                                     26


        1   could meet and confer and figure that out, hopefully, or, you

        2   know, we, obviously, have ability to come back to Your Honor.

        3              But I think the deposition is a different animal than

        4   the documents.    I think documents -- it may be that his, you

        5   know, desire to get more relates to the fact that, you know,

        6   the way it was done in the Caymans is, they didn't say, you

        7   know, that -- it is 750 documents, including, I believe, about

        8   500 emails, and it would have included -- you know, Mr. Loft

        9   discussed, you know, discussions with the buyer group and

       10   diligence of the buyer group.      All communications with the

       11   buyer group, that was in the stuff -- in the materials that was

       12   asked of us and that we turned over to counsel for the company.

       13   That's one of the items in Appendix 4; I believe it is item --

       14   communicate with the buyer group is item I, which I identified

       15   earlier.   That was one of the requests that was made to

       16   Houlihan, and we voluntarily agreed to hand over -- you know,

       17   to do a search and to hand over those materials, which we did.

       18   And, you know, I think -- I don't know if the 127 that are

       19   marked as Houlihan, how many of those fit that category or not.

       20   I don't really -- I haven't gone through what we've produced in

       21   the Cayman with our name on it.       I do know what we gave them,

       22   which included that material.

       23              THE COURT:    All right.    I mean, I do think that, at

       24   least to some degree, FourWorld is entitled to, just as someone

       25   would be in conducting discovery in a regular civil case in the
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 27 of 59 Page ID #:1621
                                                                                     27


        1   United States, to test two productions against each other and,

        2   you know, to ask you for documents to ensure that, you know,

        3   what they are getting from the company is -- is exhausted, and

        4   vice versa.    So, but I appreciate the burden argument.

        5              That leads me to something else I wanted -- sort of

        6   two other issues I wanted to discuss:        the cost-shifting issue.

        7   Certainly there has been no showing whatsoever that the cost to

        8   Houlihan is significant, and the law is clear that the Court

        9   has to take into account the sort of status and the means of

       10   the company that's asking for the cost shifting, the -- the

       11   respondent.    You know, there is a case which I could find, but

       12   I think it's UPS.     The Court says that a $250,000 burden to UPS

       13   is not significant because UPS has so many resources, whereas,

       14   you know, there's other case law where a $9,000 cost to an

       15   individual is significant because they were nearly indigent.

       16              So, I don't know at this point what Houlihan's means

       17   are and what's going to be, you know, (a) a significant cost to

       18   them, and (b) what's going to be burdensome.         Because I just

       19   don’t know enough about Houlihan as to, you know, what -- what

       20   their means are.    You know, clearly, they have a fine attorney

       21   representing them, and, you know, have some resources.          So, as

       22   to the cost shifting, I certainly would -- to the extent

       23   Houlihan asked for the costs to be shifted, I would certainly

       24   consider any such application, but they would have to make a

       25   showing that the costs were significant to them given their
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 28 of 59 Page ID #:1622
                                                                                     28


        1   resources and means.

        2              I also wanted to ask you, Mr. Flaum, about the

        3   protective order argument you made.       It seemed to me that you

        4   were speaking about protective order in terms of limiting the

        5   amount of information that petitioners were permitted to get

        6   from you, but also, you know, certainly I don't know, but maybe

        7   you -- you meant a protective order also in the sense of

        8   something that would keep confidential certain information and

        9   state that it could only be used for purposes of the Cayman

       10   proceeding.    So, I guess my question to you is, were -- you

       11   were talking about that sort of protective order as well?

       12              MR. FLAUM:    Let me address that.     We can go quickly

       13   in a second to the fee shifting, but (indisc.) what we're

       14   really looking for, and it depends on what it is Your Honor

       15   orders us to produce, but the concern is one of potential

       16   confidentiality --

       17              THE COURT:    Okay.

       18              MR. FLAUM:    -- not a particular -- and -- and the

       19   issue -- and this is -- this is something which I'll preview

       20   for Your Honor, and it's an issue that's come up in other cases

       21   I've worked on, and maybe ones Mr. Loft has, as well, involving

       22   Cayman.   If we were in your court and we were asked for a

       23   protective order, we would then ask for the ability to file

       24   certain documents that were highly sensitive under seal.           And

       25   Your Honor would consider that and -- and in the right
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 29 of 59 Page ID #:1623
                                                                                     29


        1   circumstances, where it really was proprietary, would grant it,

        2   I presume.     That -- the same protections don't automatically

        3   exist in the Caymans.     And, so, there are very thorny issues

        4   that come up if certain documents are really proprietary

        5   information.      And what they've asked for in a lot of these

        6   things is, is the document shared amongst parties, but anything

        7   relating to, which could have, you know, sort of trade secret,

        8   how -- how Houlihan does certain analyses, and other things

        9   which are very proprietary.      And --

       10              THE COURT:    But isn't there something in the

       11   directions order about keeping things confidential and not --

       12              MR. FLAUM:    Well, we would just need to make sure

       13   that any order, you know, that it was fully protected by that.

       14   I didn't really study the directions order, that provision, but

       15   that's what we're -- it would be something that would, you

       16   know, provide for protection of confidential information,

       17   including making sure that in directing if we had to produce

       18   it, that they took all necessary steps to ensure that it

       19   remained protected, not only here, for purposes of discovery,

       20   but in the Caymans, which has -- which doesn't have a, you

       21   know, sort of robust filing under seal process, as I understand

       22   it.   And so --

       23              THE COURT:    Well, there --

       24              MR. FLAUM:    -- those are the issues that (indisc.).

       25              THE COURT:    There is something in the protect -- in
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 30 of 59 Page ID #:1624
                                                                                     30


        1   the direct -- directions order about keeping stuff

        2   confidential.    I understand your concerns.      I'm not going to

        3   tell the Cayman court what it can and can't make public, but

        4   I'm certainly willing to -- I mean, I think that would be

        5   something that the parties should meet and confer concerning

        6   and submit some sort of proposed protective order.          You know, I

        7   have one on my web page.      Obviously, it's geared toward U.S.

        8   litigation.    But I'm certainly willing to consider something,

        9   but in negotiating that I would want the parties to keep in

       10   mind that, other than what's in the directions order, I would

       11   be hesitant to, again, tell the Cayman court what they can and

       12   can't do.

       13               MR. FLAUM:   I agree, Your Honor, and I wouldn't ask

       14   you to tell them.     That's just -- it's a complication that

       15   comes up in these situations.      But, you know, we've -- I've

       16   negotiated solutions to it with other counsel, and I'm sure

       17   Mr. Loft and I can at least give that a robust try.

       18               THE COURT:   All right.

       19               MR. FLAUM:   Just quickly on the fee shifting, you

       20   know, I will say that, you know, we'll have to consider it.              A

       21   lot of it depends on the scope and the burden.         You know,

       22   Houlihan is certainly not in forma pauperis.         It's a

       23   significant investment bank.      You know, it's -- we've got

       24   investment banks against big hedge funds; we have lots of, I

       25   think, fortunately for me and Mr. Loft, well-heeled clients on
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 31 of 59 Page ID #:1625
                                                                                     31


        1   both sides here.    And I recognize that, and I recognize the

        2   law, but -- and we'll have to see what the burden is, but

        3   we'll -- we're -- if we get a -- you know, keep that request,

        4   we'll make the proper showing.

        5              THE COURT:    Yeah, that's -- that's certainly up to

        6   you.   I am just, you know, going to deny that request as it's

        7   presented in the current briefing without prejudice, and then

        8   you can certainly -- it's up to you if you want to request it

        9   with the proper showing.

       10              All right.    So, did anybody else have anything they

       11   wanted to say before we go through the subpoena as it currently

       12   exists to talk about each of the categories?

       13              MR. LOFT:    The only issue I would address is the

       14   deposition issue, but we can -- we can do that after.          I

       15   just -- if the Court is inclined to, you know, accept some of

       16   the arguments you're hearing from Mr. Flaum, I'd like to be

       17   able to respond on the deposition.

       18              THE COURT:    Well, why don't you do that now.       I think

       19   I'm going to have to think a little bit more after this hearing

       20   about the deposition issue and really go through the factors,

       21   the discretionary factors, in my mind, and do a little research

       22   on my own about the deposition issue.        I'll try to get

       23   something out quickly, but -- so, you're welcome to respond now

       24   to his arguments.

       25              MR. LOFT:    Thank you.    I'll just leave the Court with
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 32 of 59 Page ID #:1626
                                                                                     32


        1   a couple of points on the deposition issue.         First, with

        2   respect to the Quadre case, the Judge Birotte decision, that

        3   was an appeal from Judge Standish.       He denied the deposition on

        4   two grounds.    One, he said that the petitioners had failed to

        5   apprise the Court of their interest in deposing respondent.

        6              THE COURT:    Right.

        7              MR. LOFT:    That's not an issue here.      We've told --

        8   our Cayman counsel has told the Cayman court from the outset

        9   about the intent to take discovery under 1782, and there is

       10   even a reference in this directions order to the 1782, to the

       11   opportunity to take 1782 discovery.       So, we just don't think

       12   that that's an issue at all here.       But it wasn't --

       13              THE COURT:    I did read the -- the Quadre case, and I

       14   did think it was -- was different.

       15              MR. LOFT:    Yeah, and I'm sure Your Honor recognized

       16   the second difference, which was that, in that case, at that

       17   time, the petitioners had not identified for Judge Birotte any

       18   case where the deposition had been admitted in the Cayman

       19   proceeding.    And, you know, we respectfully disagree with

       20   Mr. Flaum and his characterization of our evidence, but I --

       21   our evidence from Mr. Kish, unchallenged by any contrary

       22   evidence from Cayman counsel on their side, is that the Court

       23   in Nord Anglia admitted deposition transcripts.         So -- so,

       24   we've addressed that issue, as well, and I think those two

       25   differences really distinguish our case from Quadre.
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 33 of 59 Page ID #:1627
                                                                                     33


        1              THE COURT:    So, Mr. Loft, let me just tell you that,

        2   you know, prior to this hearing, having read everything, I was

        3   inclined to grant your request to take a deposition.          But I am

        4   concerned about that language in the directions order and

        5   whether under the third Intel factor this is some kind of

        6   circumvention.    And, so, that's -- you know, I only saw the

        7   directions order yesterday, so that is something that I would

        8   like to conduct some research on.       Certainly, you know, if you

        9   want to brief it -- and, you know, I'm happy to entertain that,

       10   but, you know, let me just quickly look at these four factors,

       11   discretionary, again.

       12              You know, I -- and I'm just going to give you my

       13   preliminary thinking so that, if you do want to brief this

       14   issue, I'm happy to hear it.      You know, Houlihan is a third

       15   party, so it seems to me that that factor is kind of neutral,

       16   really, or weighs in favor of petitioner.

       17              The nature of the foreign tribunal, the character of

       18   the proceedings underway abroad, and the receptivity of the

       19   foreign government or court or agency abroad to the Court's

       20   assistance; as I said, I -- my understanding of the law is,

       21   basically, unless something's been -- see, I think -- I think

       22   Mr. Loft, the argument you were making previously in response

       23   to my concern about factor three actually goes to factor two,

       24   because I do think you're right that factor two says that

       25   unless the Court has affirmatively prohibited something, that
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 34 of 59 Page ID #:1628
                                                                                     34


        1   the presumption is that you should be able to gather that type

        2   of evidence.    And I don't think there is an actual prohibition

        3   on taking a deposition.      The character of the proceedings

        4   underway abroad, however, is very narrow, and, you know,

        5   whether a deposition is needed, I don't know; that's something

        6   I'd have to think about.      But right now, I would say that that

        7   factor probably tends to favor you.

        8              But whether the request is an attempt to circumvent

        9   foreign proof-gathering restrictions or other policies, it does

       10   seem to me preliminarily, as I said, that they've set up a way

       11   for somebody to be examined; they say that it takes place at

       12   the end of the proceedings; and, so, allowing a deposition

       13   might be -- and I haven't decided -- a way to circumvent that.

       14              And, then, whether the request is unduly intrusive or

       15   burdensome, I mean, given, you know, that there hasn't been a

       16   showing -- you know, most of Mr. Flaum's argument concerning

       17   burden went to producing the documents and the fact that they

       18   had already given them to the company, etcetera, etcetera.           I'm

       19   not sure how burdensome a deposition will be, especially since,

       20   as Mr. Flaum said, somebody from Houlihan is, in any event,

       21   going to be doing an affidavit and be cross examined.

       22              So -- so, anyway, those are my preliminary thoughts.

       23   It's that directions order -- I was inclined to let you do the

       24   deposition, but the directions order is giving me pause about

       25   the third factor.
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 35 of 59 Page ID #:1629
                                                                                     35


        1               MR. FLAUM:   Thank you, Your Honor.      I would just

        2   point out we did brief the -- you know, they list, I think it's

        3   six or seven categories they want to depose, and we did brief,

        4   to some extent, that they were overly broad and burdensome.

        5               THE COURT:   Right.

        6               MR. FLAUM:   And, so, I just want to --

        7               THE COURT:   You know, and you're -- I'm sorry.

        8               MR. FLAUM:   I just want to (indisc.) that.

        9               THE COURT:   I'm sorry if I -- if I implied otherwise.

       10   But, to me, those were sort of the same -- or very similar

       11   arguments related to why the document production was overbroad,

       12   as well.

       13               MR. FLAUM:   That's correct, Your Honor.

       14               MR. LOFT:    Your Honor, may I just leave you with one

       15   last point on the deposition, and then we can save the rest for

       16   briefing?     This is the Athos case, a case that we cite at the

       17   reply brief, ECF 31 at page 14.       Now, this was a case from the

       18   Eastern District of Missouri.      Obviously, it's not binding on

       19   this Court.

       20               THE COURT:   Right.

       21               MR. LOFT:    But it does show how another district

       22   court grappled with this issue.       It was a Cayman Islands

       23   appraisal proceeding.     The 1782 application sought a deposition

       24   of a member of the buyer group; admittedly, not the financial

       25   advisor, but a member of the buyer group.        And here's what the
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 36 of 59 Page ID #:1630
                                                                                     36


        1   Court said.    It said:

        2   "The second and third discretionary factors encourage courts to

        3   consider the foreign tribunal's receptivity to a U.S. Federal

        4   court's assistance and whether the 1782 request conceals an

        5   attempt to circumvent foreign proof-gathering restrictions.

        6   There is no indication in the record here that a discovery

        7   order would be unwelcome by the Cayman Islands court."

        8              And the Court went on to allow a deposition exactly

        9   in the form that we're seeking here, a 30(b)(6) deposition.

       10   We're happy to negotiate about the topics and meet and confer

       11   so that it's narrow enough that one witness -- not multiple --

       12   one witness would appear for a deposition, and that can be a

       13   witness of Houlihan's choosing to meet the topics under our

       14   notice.

       15              THE COURT:     Right, but I don't think that's exactly

       16   on point, and I did have that case circled, because here,

       17   again, you're right that there is no actual prohibition, that,

       18   you know, the directions order is silent concerning a

       19   deposition, but I have no idea if this Athos directions order

       20   said anything comparable to what it says here about allowing an

       21   affiant to be cross examined, etcetera.

       22              MR. LOFT:    Yeah, I -- this is -- may -- this may be

       23   an area for further briefing, but --

       24              THE COURT:     All right.

       25              MR. LOFT:    -- the cross examination of a witness at
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 37 of 59 Page ID #:1631
                                                                                     37


        1   this phase of a Cayman Islands appraisal proceeding I think is

        2   standard across the Cayman Islands proceeding.         I have every

        3   reason to suspect it existed in the Athos case, but we have

        4   probably counsel on the phone here who were involved in that

        5   case, and we can go away and brief that question and respond to

        6   Your Honor.

        7              THE COURT:    Well, that would -- that would be very

        8   helpful, and then if there was any other -- it would be helpful

        9   to me to know if that is standard operating procedure, because

       10   then I think you're right.      It would be helpful to know if it

       11   was in the Incos (phonetic) case, and it would be helpful to

       12   know if there were any other cases out there.         You know,

       13   obviously, you're probably not going to be able to find

       14   something from our district or our -- maybe even our circuit,

       15   but I do appreciate seeing stuff from elsewhere that's on

       16   point.

       17              So -- so, leaving aside the issue of whether any

       18   deposition would be involved or allowed, let me take the

       19   subpoena here.

       20              So, Mr. Loft has already agreed that it can be

       21   limited to April 1st, 2020, so that's one way it would have to

       22   be modified.     Then -- and what I'm doing now is to give you

       23   some guidance.    And then I'm going to order the parties to meet

       24   and confer and come back to me, you know, and I can get the

       25   briefing on the deposition, we can set a briefing schedule for
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 38 of 59 Page ID #:1632
                                                                                     38


        1   that, but I also want the parties to meet and confer concerning

        2   the protective order, and then to meet and confer concerning

        3   narrowing the scope of the subpoena request, and once I rule on

        4   whether any deposition would be allowed, the deposition topics

        5   would be narrowed accordingly, and then we can set a status

        6   conference for some time after I get the briefing and

        7   reconvene.

        8              But just looking at page six of Exhibit 1 of the

        9   proposed subpoena, starting with the document requests, you

       10   know, I don't -- I don't -- I mean, I understand your

       11   arguments, Mr. Loft, about how there might be some tangential

       12   relevance to the valuation, but, number one, I just -- why do I

       13   care about strategic alternatives to the merger?

       14              MR. LOFT:    Because an essential part of the way to

       15   determine whether a price was fair was whether it was open to

       16   competitive bidding.     And in this case, it was not, or at least

       17   we don't think it was, but if there were other parties

       18   interested in buying this company who were turned away or not

       19   otherwise considered, that would be highly probative of whether

       20   the ultimate price -- which, again, was the product of what we

       21   believe was an insider deal that squeezed out minority

       22   holders -- was a fair price.

       23              And I found the references in the Mangatal

       24   declaration.    It's paragraphs 23 and 30, for the record, that

       25   talk about whether the sales process was an open, competitive,
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 39 of 59 Page ID #:1633
                                                                                     39


        1   and fair process.

        2              THE COURT:    All right.    Mr. Flaum?

        3              MR. FLAUM:    Your Honor, that's not what -- Houlihan

        4   was retained to do a fairness opinion.        That -- and, so --

        5   their retention letter is there; they had a limited role.           This

        6   is, you know -- this may be -- and, look, my guess is -- I know

        7   there are at least two or three other 1782s that the dissenters

        8   have -- are litigating elsewhere, served elsewhere.          And this

        9   may be a proper request for, you know, the company, but it's

       10   not -- it's not a proper request for (indisc.).         We have a very

       11   -- we had a limited role of setting up and doing a fairness

       12   opinion of the fairness of the thing from a financial point of

       13   view.   That was what was our role.      And as a nonparty, to try

       14   and put us through the burden of trying to, you know, do this

       15   at best tangentially and speculatively relevant discovery, in

       16   my view, makes -- you know, is improper under -- you know,

       17   putting aside the Cayman, it was just improper under U.S. law.

       18   We're not the right party.      We're a third party -- a nonparty,

       19   rather, not a third party.      And this was not in our bailiwick

       20   of what we were doing.     This is a fishing expedition as to us.

       21              THE COURT:    But, then -- then -- then you wouldn't

       22   have any responsive documents.       Do you know, one way or the

       23   other, whether you have documents that are responsive to this?

       24              MR. FLAUM:    I don't know.    I don't know whether or

       25   not somebody at Houlihan -- you know, to the extent we had --
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 40 of 59 Page ID #:1634
                                                                                     40


        1   to the extent we have documents where we went out to third

        2   parties or had communications with third parties, those we

        3   have, and those we've produced.       To the extent there's, you

        4   know, internal musings or other things that are about this

        5   (indisc.), if we -- if there were others that we communicated

        6   with or communicated with us, that's covered by other requests,

        7   and we've produced them.

        8               THE COURT:   Can somebody give me a little bit of a

        9   timeline?    And I apologize if this is somewhere and I -- I have

       10   forgotten it.    So, the merger takes place, and then Houlihan

       11   comes in to do the valuation?      Or --

       12               MR. LOFT:    Houlihan was retained In April of 2020.

       13   They rendered a fairness opinion on June 15th, 2020, after the

       14   company had agreed with the buyer group on an agreement in

       15   principle to do the deal.

       16               THE COURT:   Okay.   (indisc.)

       17               MR. LOFT:    Houlihan offered an opinion in June that

       18   the price was fair, and then the merger closed in September of

       19   2020.

       20               THE COURT:   All right.

       21               MR. FLAUM:   So, Houlihan's involvement was -- you

       22   know, April 27 we were retained, so there may be, you know, a

       23   week or two where -- where we, you know, we put in a

       24   competitive bidding situation and asked to be retained.          I

       25   don't even know that, but I'll -- I'll -- I'm taking Mr. Loft's
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 41 of 59 Page ID #:1635
                                                                                     41


        1   word for that.    But it was basically from the end of April,

        2   May, through June 15.

        3              THE COURT:    Right.

        4              MR. FLAUM:    That's the period.

        5              THE COURT:    Right.    I'm going to -- I'm going to

        6   limit it, I already said, from April 1, 2020, to -- you know,

        7   I'll give you a little bit of time after September 6th, you

        8   know, to the end of September.       That's the period we're talking

        9   about now, April 1 to September 30th of 2020.         I mean, I did

       10   look at the expert declaration paragraphs you pointed me to.             I

       11   don't really see that 23 advances the ball, but 34 does say --

       12   is given a very wide meaning.

       13              MR. LOFT:    I misspoke, Your Honor.      I said 23, but I

       14   meant paragraph 29.

       15              THE COURT:    Twenty-nine.

       16              MR. LOFT:    It's 29.

       17        (Pause)

       18              MR. LOFT:    This is where it talks about whether the

       19   sale process was open, competitive, and fair.         The Court's

       20   talking about the Maso Capital case.

       21              THE COURT:    So, you're telling me that in these

       22   proceedings -- what would happen if the -- does the Cayman

       23   court ever find, okay, this -- this process was not open,

       24   competitive, and fair, and, therefore, we're going to value it

       25   at a much greater amount?      Is that part of this process?
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 42 of 59 Page ID #:1636
                                                                                     42


        1              MR. LOFT:    That's my understanding, and that's what

        2   goes -- what the judge goes on to say in 30.         Where it talks

        3   about ultimately how the Court will assess the fair value of

        4   the shares, that is come up with a price that may be different

        5   from this -- from the merger price and award damages on that

        6   basis or award appraisal on that basis, and we'll consider

        7   factual evidence submitted by the parties, including evidence

        8   relating to the fairness or lack thereof of the process, that

        9   led to the merger.

       10              And on this question of Houlihan's involvement as to

       11   communications with potential other bidders, we cite a very

       12   long proxy statement.     I don't expect the Court has read the

       13   whole thing; I haven't read the whole thing.         But there's --

       14              THE COURT:    I've read some of it.

       15              MR. LOFT:    There is a specific page.      It's at -- it's

       16   at page ID 908, so that's the ECF page, and this is ECF 1-3.

       17   And it talks about how when the proposal for the deal was

       18   announced, the proposal specifically told the public that,

       19   quote:

       20    "Interested third parties should contact the special committee

       21   or Houlihan Lokey to make their interest in an alternative

       22   transaction known."

       23              So, that's why we've made these requests.         That's why

       24   we believe that Houlihan may have had such communications.           If

       25   they didn't, if they don't have any communications, then upon a
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 43 of 59 Page ID #:1637
                                                                                     43


        1   reasonable search they'll establish that, and we'll get no

        2   documents.    But we think that the search is justified on that

        3   basis.

        4              THE COURT:    All right.    I think that's fine.     I do --

        5   we have greatly narrowed the time frame we're talking about,

        6   and, as Mr. Loft says, if Houlihan doesn't have any documents,

        7   then that won't be that much of a burden.

        8              All right.    Number two.    So, that would be the same

        9   ruling as to number two.

       10              Number three; well, that's certainly relevant.          I

       11   don't know who -- what is Anjuke and Daojia?

       12              MR. FLAUM:    I believe they are subsidiaries of

       13   58.com.

       14              THE COURT:    All right.

       15              MR. FLAUM:    To simplify it a little bit.

       16              THE COURT:    All right.    So, you know, one, two,

       17   three; that's fine.

       18              Four; that's fine.

       19              Five; any financial protection for the company.          I --

       20   what -- explain to me, Mr. Loft, what -- what this means

       21   exactly and what you're looking for.

       22              MR. LOFT:    This is five?

       23              THE COURT:    Yeah.

       24              MR. LOFT:    There may be a typo.     It should say

       25   financial projection.
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 44 of 59 Page ID #:1638
                                                                                     44


        1              THE COURT:    Oh, it does.    I'm sorry.    My eyes are

        2   bad.   All right.   Now I get it.     All right.    That's fine.

        3              What -- so --

        4              MR. FLAUM:    Your Honor, if I could just say, you

        5   know, I understand -- I mean, five is -- even corrected for the

        6   eyesight -- it's a very confusing question, you know, in my

        7   mind, and it's -- I think I know what it -- and I'm happy to

        8   discuss it with Mr. Loft what he's, you know, really looking

        9   for, but it has a lot of, you know -- is he -- if what he's

       10   just saying is, if there are any financial projections -- I

       11   don't understand what's different about it than prior requests.

       12   That's my problem with it.      I read it, and I'm, like, I don't

       13   know what he's asking for that wouldn't be covered by three,

       14   for example.    So, it -- it just, you know, makes it difficult

       15   to say I'm okay producing it if I don't know what he wants.

       16              MR. LOFT:    There are two --

       17              THE COURT:    Well, that’s a fair point.

       18              Go ahead, Mr. Loft.

       19              MR. LOFT:    There are two types of financial

       20   projections that become relevant in these appraisal cases.

       21   There are financial projections that project the company's

       22   revenues on a standalone basis without the merger, and then

       23   there are projections that project the company's revenues and

       24   profits after the merger, as a combined company, based upon

       25   potential synergies, etcetera.       And that's the difference
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 45 of 59 Page ID #:1639
                                                                                     45


        1   between request five and request four.          We wanted to make sure

        2   we had a request that covered projections not only on a

        3   standalone basis, but also on a merged basis.

        4              THE COURT:    Well, the end of three says --

        5              MR. FLAUM:    Right.

        6              THE COURT:    -- "and/or qualitative or quantitative

        7   discussions or analysis of any synergies from the merger."

        8              So -- but you folks can meet and confer about that.

        9              MR. FLAUM:    We can -- I'm sure we can work that one

       10   out.   I just didn't understand what he was asking for.

       11              THE COURT:    And I appreciate it.

       12              Number six, relating to any other potential

       13   acquisition of the company.        So, I take it that you're saying,

       14   Mr. Loft, that if they were about to acquire Facebook, that

       15   would have boosted the value or something?

       16              MR. LOFT:    Correct.     Correct.    That's what that one

       17   goes to.

       18              THE COURT:    All right.

       19              MR. FLAUM:    And we're still dealing with the same

       20   four-month or so time frame.

       21              THE COURT:    Yes.     All of this is --

       22              MR. FLAUM:    Okay.

       23              THE COURT:    -- yes.     So, okay.   And, in principle,

       24   I'm saying okay to these, but you folks can meet and confer,

       25   but, Mr. Flaum, keep in mind that my, you know, tentative
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 46 of 59 Page ID #:1640
                                                                                     46


        1   notion is that they're okay, limited to that time frame.

        2              Number seven; that seems okay.

        3              Number eight; that seems okay.

        4              Number nine seems okay.

        5              Number ten.

        6              MR. FLAUM:    All -- through 12 is stuff we've already

        7   handed over to the company, so (indisc.) to.

        8              THE COURT:    Well, again, I do think that they are

        9   entitled to test -- Mr. Loft, when you go over this stuff, I --

       10   so, to the extent you have access already, and I don't know if

       11   you do, to the documents that the company has uploaded to the

       12   data room, if you can avoid asking Mr. Flaum to produce the

       13   exact same stuff, I would appreciate it.

       14              MR. LOFT:    Understood.

       15              THE COURT:    All right.

       16              But 10 and 11; you know, to the extent there's any

       17   nonprivileged stuff, it's okay.

       18              Number 12; that's fine.

       19              Number 13; what's Kaihui (phonetic) Limited?

       20              MR. LOFT:    Kaihui Limited, or KL, as it's

       21   abbreviated, was a consultant to the company and its management

       22   and was intimately involved in negotiations of this

       23   transaction.    They're detailed throughout the proxy statement.

       24   And, so, this is meant to capture the communications with them.

       25              THE COURT:    All right.
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 47 of 59 Page ID #:1641
                                                                                     47


        1              So, number 14; all documents concerning any condition

        2   that the merger be approved by a majority of the shares not

        3   held by the buyer group and its affiliates.

        4              So, this is trying to get to the fairness issue?

        5              MR. LOFT:    That's right.    There's a condition that

        6   didn't exist in this case, but that could exist to protect

        7   minority shareholders, where, like in Delaware, you would put

        8   the transaction up to a vote by disinterested shareholders, who

        9   aren't affiliated with the buyer group, a majority of the

       10   minority condition.     That's what this is going to.       We're

       11   looking for documents considering, but ultimately, obviously,

       12   rejecting that, but what the considerations were that caused

       13   them to reject that type of condition for this deal, which

       14   would have made the deal a lot fairer to our clients.

       15              MR. FLAUM:    And this is -- this is, in my view --

       16   this is where, I think, up till now, it sort of relates to the

       17   work Houlihan was retained to do and issue a fairness opinion,

       18   whether they -- you know, the transaction was fair from a

       19   financial point of view.       This is now going into -- you know,

       20   it asks whether -- you know, this was not something Houlihan

       21   had any role in.

       22              THE COURT:    But wouldn't Houlihan -- I don't know,

       23   but wouldn't Houlihan have considered whether this condition

       24   was not present that affected the fairness of the valuation?

       25              MR. FLAUM:    No.   That's not -- that's not what it
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 48 of 59 Page ID #:1642
                                                                                     48


        1   does.   I mean, it ran, you know, this kind of cash flow

        2   analyses, comparable company analyses, and came up with -- you

        3   know, it came up with what I believe the Caymans court will do,

        4   which is, what is the fair price of this deal.         It didn't say,

        5   you know, if the deal was, you know, that it would close in six

        6   months rather than now, or other conditions that didn't exist.

        7   There are probably a host of conditions that, you know, you

        8   could have put in the deal but didn't.        You know?   It could be

        9   conditions about, you know, how long certain employees stay

       10   with the company; and there's all sorts of things.          That's not

       11   what Houlihan did --

       12              THE COURT:    So, then, wouldn't you --

       13              MR. FLAUM:    -- or was retained to do.

       14              THE COURT:    But, so, then, wouldn't you just be able

       15   to say you had no responsive documents?

       16              MR. FLAUM:    I'm not sure how we, you know, even

       17   search for this.    I mean, you know, we're not going to have

       18   a -- you know, could somebody have, you know, had a musing?              I

       19   have no idea.    I'm not even sure how we go -- this is just not

       20   what -- I'm not sure how we would search for -- for the -- for

       21   documents like this, because it was not the work that we did.

       22              And there are -- again, there are parties that made

       23   these decisions.    I think we'll get the discovery from the

       24   parties.   This was -- I mean, the company decided, I'm sure in

       25   negotiation with the buyer group, what conditions to have or
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 49 of 59 Page ID #:1643
                                                                                     49


        1   not have.    And there's just -- you know, it's just -- I don't

        2   believe it's appropriate to make a nonparty search for needles

        3   in a haystack when there are obviously parties that are the

        4   ones that did this issue.

        5               THE COURT:   Well, I understand what you're saying,

        6   but I also understand Mr. Loft's argument that it goes to

        7   whether the merger was fair and, therefore, whether the

        8   valuation was fair.

        9               But, Mr. Loft, when you folks meet and confer, you

       10   better, you know, provide Mr. Flaum with a way to search

       11   effectively and efficiently to come up with these responsive

       12   documents, the search terms that you want him to use, because I

       13   don't want him having to -- I think he's probably right, that

       14   there's not going to be a lot, based on what he's saying, so I

       15   don't want him to have to spend a lot of time searching for

       16   something that he most likely doesn't have a lot of anyway.

       17               MR. LOFT:    Yeah, Your Honor, just for the record,

       18   there are at least four meetings referenced in the proxy

       19   statement that speak exactly to this issue, that say Houlihan,

       20   with its special committee, discussed specifically whether the

       21   proposed transaction would be approved by a majority of the

       22   outstanding shares held by unaffiliated shareholders.          This is

       23   all throughout the proxy statement.       Mr. Flaum may not know,

       24   but his client will know what we're talking about when we send

       25   these requests to them.
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 50 of 59 Page ID #:1644
                                                                                     50


        1              THE COURT:    All right.

        2              Number 15; that's fine.

        3              Number 16; I mean, that number 16 seems rather

        4   tangential to me.      I -- why is Houlihan going to have anything

        5   about the negotiation of the merger agreement, and -- I mean, I

        6   guess I'm not sure exactly what you're asking for, Mr. Loft.

        7              MR. LOFT:    Throughout the negotiation process of the

        8   merger agreement, at every step, the special committee would be

        9   presented with the latest developments on the negotiations.

       10   They were then discussed in the special committee; Houlihan was

       11   advisor to the special committee.       So, Houlihan would have been

       12   living and breathing in real time the negotiations as they were

       13   unfolding, from the perspective of the special committee, but

       14   certainly with great visibility into those negotiations.

       15              THE COURT:    But isn't this essentially asking for

       16   every single piece of paper that Houlihan has?

       17              MR. FLAUM:    Yes.

       18              MR. LOFT:    We're happy to work with search terms;

       19   we're happy to work with custodians.       We're not trying to turn

       20   the company upside down.      But   Houlihan had a very prominent

       21   role in this deal, and if there are search terms that don't

       22   yield an undue burden, then that discovery is highly

       23   proportional to a multi-billion-dollar dispute in this case.

       24              THE COURT:    But you've got all these other specific

       25   ones.   I -- I just -- I don't think this one's necessary, and I
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 51 of 59 Page ID #:1645
                                                                                     51


        1   don't think it's -- it's -- I think it's too vague also.           So, I

        2   don't think we need 16.

        3              Seventeen; all right.      I think that's all right.

        4              Eighteen; what does 18 bear on, Mr. Loft?

        5              MR. LOFT:    Eighteen bears on the interconnections

        6   between the buyer group.       There are a number of buyers who came

        7   together to acquire this company, many of which had close ties

        8   to management.    This was a take-private deal led by the

        9   managers of the company and who combined with private equity

       10   firms to buy the company and take it private.         So, that's what

       11   the affiliate relationships go to.

       12              THE COURT:    But the -- as Mr. Flaum mentioned, don't

       13   you have 1782 requests out to the members of the buyer group?

       14              MR. LOFT:    To the ones who were in the United States.

       15              THE COURT:    Ah.   Mr. Flaum?

       16              MR. FLAUM:    Look, I think what's -- what's going on

       17   here is, you know, their company used Houlihan as the mechanism

       18   to do what would be -- you know, if this case were in the

       19   United States and they had the ability to subpoena, they're

       20   saying:   We would have subpoenaed 25 people who have really --

       21   who have the core information; we can only subpoena three of

       22   them, and you're one of them, so we're going to ask you for

       23   everything we would have asked for everybody else, even though

       24   you're a nonparty, and say, well, you sat in a meeting, so --

       25   anyway, my view, Your Honor, is -- and I could be wrong; it's
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 52 of 59 Page ID #:1646
                                                                                     52


        1   up to you -- that's improper.      That's what's going on here.

        2   It's a big fishing expedition into parties and into issues we

        3   have nothing really to do with, because they don't have --

        4   they're basically going after the three or four people that are

        5   in the United States, and Mr. Loft just admitted.         And, you

        6   know, but even with this one, they have buyer group people they

        7   can go after.    And those people (indisc.) --

        8              THE COURT:     Yeah, I just --

        9              MR. FLAUM:     (indisc.)

       10              THE COURT:     I agree with you.    I think I agree with

       11   you, Mr. Flaum.    So, I just -- you know, this just seems too

       12   tangential both to Houlihan and to what's at issue in the

       13   proceeding, so I'm going to say no to 18.

       14              Nineteen; well, that's fine.

       15              MR. FLAUM:     I'm not sure -- if I could, Your Honor; I

       16   don't mean to interrupt.      I'm not sure what 19 -- again, maybe

       17   I could just talk to Mr. Loft about this.        You know, (indisc.)

       18   they want, you know -- including associated discussion papers

       19   that we (indisc.) in connection with our role, as long as it's

       20   limited to just things we did here, and this is not some

       21   attempt to get every document that Houlihan has somewhere

       22   concerning, you know, fairness opinion or valuation reports, I

       23   mean, that would be searching throughout -- I mean, that's what

       24   Houlihan does.    So --

       25              THE COURT:     Well, I under --
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 53 of 59 Page ID #:1647
                                                                                     53


        1              MR. FLAUM:    -- that this (indisc.) --

        2              THE COURT:    And I think --

        3              MR. FLAUM:    (indisc.)

        4              THE COURT:    I agree with you, but I think that

        5   because it says, "in connection with your role as a financial

        6   advisor to the special committee," it's -- it's limited to this

        7   case.

        8              Mr. Loft, you didn't mean anything different, did

        9   you?

       10              MR. LOFT:    That's absolutely right.      And "fairness

       11   opinion" is a defined term.      It's defined as the fairness

       12   opinion issued in connection with this -- with this

       13   transaction.

       14              THE COURT:    All right.    So, that's fine.

       15              Number 20; I mean, I guess that's okay.        I mean,

       16   maybe it should -- it seems to me more appropriate that number

       17   20 and number 21 would say something like -- where you have

       18   "concerning the company," maybe it should say, "relating to the

       19   valuation of the company."

       20              MR. FLAUM:    That would -- that would work for me,

       21   Your Honor.

       22              THE COURT:    Because "concerning the company" --

       23              MR. LOFT:    That's fine.

       24              THE COURT:    -- is mighty broad.     All right.    So,

       25   we'll change that to "relating to the valuation of the
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 54 of 59 Page ID #:1648
                                                                                     54


        1   company."

        2               All right.   Number 22; I guess -- I don't know, I

        3   guess that's -- I mean -- I mean, again, maybe at the end of

        4   this it should -- should say, you know, something limiting it

        5   to this transaction, the merger at issue here.

        6               MR. LOFT:    That's fair.

        7               THE COURT:   All right.     So, add that on at the end.

        8               MR. FLAUM:   I think 23, Your Honor, with the date,

        9   since the appraisal proceeding didn't happen till more than two

       10   months after your -- the date cutoff now, I don't think --

       11               THE COURT:   Let me just read this.

       12               MR. FLAUM:   -- it would be anything.

       13               THE COURT:   Yeah, I don't -- I don't see that that's

       14   appropriate, number 23, Mr. Loft.

       15               MR. LOFT:    Understood, Your Honor.

       16               THE COURT:   All right.

       17               Twenty-four; I mean, you know, this seems

       18   duplicative, but I -- you know, you folks can talk about how to

       19   make sure everything's covered that's appropriate.

       20               MR. LOFT:    Yeah.   And that's true for 25, as well.

       21               THE COURT:   All right.

       22               I mean, as long as we're -- I mean, with the time

       23   frame limit, I guess number 26 is okay.        Basically, if Houlihan

       24   was aware during that -- you know, from April to September of

       25   any potential IPO.
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 55 of 59 Page ID #:1649
                                                                                     55


        1              MR. FLAUM:    All right.

        2              THE COURT:    All right?

        3              Number 27; it's the same consideration as number 24

        4   and number 25, so you can talk about that.

        5              MR. LOFT:    Yeah; same for 28.

        6              THE COURT:    All right.    Yeah, same for 28.

        7              All right.    So, those are my thoughts about that.

        8              So, we need to -- so, I'm going to order you folks to

        9   meet and confer promptly concerning, you know, a reduced

       10   subpoena and the protective order, and then I'm going to set a

       11   briefing schedule.      I don't want stuff re-argued, because I

       12   have read everything thoroughly, so why don't we set a page

       13   minimum.   I'm going to give you each ten pages, and I want it

       14   limited to the question of the deposition analyzing the four --

       15   and I know you've already done it to some degree, but given --

       16   in light of the new directions order, analyzing the four

       17   discretionary Intel factors.

       18              So, Mr. Loft, when can you file your brief?

       19              MR. LOFT:    We could file our brief by -- I'm just

       20   looking.   I'm conscious of the Thanksgiving holiday.

       21              THE COURT:    Yeah, I don't want to interrupt anybody's

       22   Thanksgiving.

       23              MR. LOFT:    Could we have until -- until December 3rd?

       24              THE COURT:    Mr. Flaum, is that all right with you?

       25              MR. FLAUM:    That's fine.
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 56 of 59 Page ID #:1650
                                                                                     56


        1              THE COURT:    All right.    And, then, Mr. Flaum, your

        2   opposition?

        3              MR. FLAUM:    I'm just looking at my calendar, as well.

        4   Give me a second.      The third is a Friday.    How about the 20th?

        5              THE COURT:    Mr. Loft, is that all right with you?

        6              MR. LOFT:    That's fine, Your Honor.

        7              THE COURT:    All right.

        8              MR. LOFT:    And may I just clarify?      We'll certainly

        9   keep our legal briefing to 10 pages.       I expect we can do it in

       10   a lot less.    But may we have leave to submit additional

       11   supporting declarations from Cayman counsel and any Cayman

       12   authorities?

       13              MR. LOFT:    Sure.    I don't see why not, unless --

       14   Mr. Flaum, do you have an objection?

       15              MR. FLAUM:    Not at all.

       16              THE COURT:    All right.    And, then, Mr. --

       17              MR. FLAUM:    We would, obviously, want the same --

       18              THE COURT:    Oh, right.

       19              MR. FLAUM:    -- you know, thing.

       20              THE COURT:    Sure.    Please try not to give me hundreds

       21   of pages of anything.

       22              But, Mr. Loft, a reply brief?

       23              MR. LOFT:    Um --

       24              THE COURT:    Now we're into Christmas, I know.

       25              MR. LOFT:    No, that's -- we could do a reply brief by
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 57 of 59 Page ID #:1651
                                                                                     57


        1   the 31st.

        2               THE COURT:   All right.

        3               All right.   And, then, why don’t we set another

        4   hearing, you know, for after that?       So, let me look at my

        5   calendar.    One second.

        6        (Pause)

        7               THE COURT:   All right.    So, Thursday, January 6th,

        8   are folks available?

        9               MR. FLAUM:   That works for me, Your Honor.

       10               MR. LOFT:    It's fine for me.

       11               THE COURT:   All right.    And, so, we'll set that at

       12   10:00 a.m., January 6th.      And I expect, as well, at that

       13   hearing, if not before, for counsel to submit a -- you know,

       14   this would come from Mr. Loft -- a proposed reduced subpoena

       15   after your meet-and-confer so that I -- if you could submit

       16   that no later, Mr. Loft, than with your reply so that I have a

       17   chance to look it over, and please indicate somehow if there

       18   are any portions of the subpoena, given my guidance, that are

       19   still disputed.

       20               MR. LOFT:    Will do.

       21               THE COURT:   All right?

       22               MR. LOFT:    Will do.

       23               THE COURT:   And, so, I'm going to deny the request

       24   for the cost shifting without prejudice.

       25               Am I forgetting anything?
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 58 of 59 Page ID #:1652
                                                                                     58


        1              MR. FLAUM:    I'll have to admit, Your Honor, you've

        2   been very thorough, and we certainly appreciate it.

        3              THE COURT:    Thank you.    I try.

        4              All right.    So, happy holidays to everybody.       I'll

        5   look for your briefing, and I'll see you on January 6th.

        6              MR. FLAUM:    Thank you.

        7              MR. LOFT:    Thank you, Your Honor.

        8              THE COURT:    All right.    Thank you.

        9              THE CLERK:    This court is now adjourned.

       10        (Proceeding was adjourned at 11:25 a.m.)

       11

       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25
                            EXCEPTIONAL REPORTING SERVICES, INC
Case 2:21-mc-01019-CAS-JPR Document 40 Filed 11/22/21 Page 59 of 59 Page ID #:1653
                                                                                     59


                                         CERTIFICATION



                       I certify that the foregoing is a correct transcript

            from the electronic sound recording of the proceedings in the

            above-entitled matter.




                                                                November 22, 2021

                        Signed                                      Dated



                                  TONI HUDSON, TRANSCRIBER




                            EXCEPTIONAL REPORTING SERVICES, INC
